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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




  John Doe,

                                     Plaintiff(s),
  v.                                                     Case No. 2:16−cv−13174−DML−SDD
                                                         Hon. David M. Lawson
  Jeffery Frumkin, et al.,

                                     Defendant(s),



                                  NOTICE OF MOTION HEARING

     You are hereby notified to appear before District Judge David M. Lawson at the United
  States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
  Michigan. Please report to Room 250. The following motion(s) are scheduled for hearing:

                  Motion for Protective Order − #148

        • MOTION HEARING: August 20, 2019 at 02:00 PM



                                        Certificate of Service

     I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
  record were served.

                                                 By: s/S. Pinkowski
                                                     Case Manager

  Dated: July 22, 2019
